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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                        )
 7                                                    )
                              Plaintiff,              )    Case No. CR08-0042-MJP-BAT
 8                                                    )
           v.                                         )
 9                                                    )    DETENTION ORDER
     TOMMONE HUGHES,                                  )
10                            Defendant.              )
                                                      )
11                                                    )

12   Offense charged:

13         Conspiracy to Commit Bank Fraud

14    Detention Hearing: February 17, 2009.

15         The Court, having conducted a bond revocation hearing and a detention hearing pursuant to

16    Title 18 U.S.C. §§ 3142(f), 3148, and based upon the factual findings and statement of reasons for

17    detention hereafter set forth, finds that no condition or combination of conditions which the

18    defendant can meet will reasonably assure the appearance of the defendant as required and the

19    safety of any other person and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         1. On February 14, 2008, defendant was released on condition that he not commit any

22    crimes, not use or possess alcohol and comply with all other court orders and terms of

23    supervision. Defendant subsequently pled guilty to conspiracy to commit bank fraud and is


     DETENTION ORDER -1
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 1    scheduled to be sentenced on February 20, 2009. On February 6, 2009, U.S. Pretrial Services

 2    alleged defendant had violated his conditions of release by 1) committing the offense of driving

 3    under the influence of alcohol on February 5, 2008; 2) using or possessing alcohol; and 3) failing

 4    to comply with all other courts orders by committing a new crime. Based on these allegations, the

 5    Court issued a warrant for defendant’s arrest.

 6         2. Defendant was arrested on the warrant and appeared on February 11, 2009. Defendant

 7    denied the allegations and an evidentiary hearing was set for February 17, 2009. Defendant was

 8    also ordered temporarily detained pending the evidentiary hearing.

 9         3. On February 17, 2009 the Court conducted an evidentiary hearing. The government

10    made a profer regarding the alleged violations and also submitted arrest reports showing

11    defendant had been arrested for suspicion of driving under the influence.

12         4. The Court finds there is probable cause that defendant committed the crime of driving

13    under the influence, and clear and convincing evidence that defendant possessed alcohol and

14    violated a state sentence condition by committing a new offense.

15         5. The Court finds no conditions of release will assure the defendant will not pose a danger

16    to the safety of the community.

17         It is therefore ORDERED:

18         (1)     Defendant shall be detained pending trial and committed to the custody of the

19    Attorney General for confinement in a correctional facility separate, to the extent practicable,

20    from persons awaiting or serving sentences, or being held in custody pending appeal;

21         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

22    counsel;

23


     DETENTION ORDER -2
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 1         (3)     On order of a court of the United States or on request of an attorney for the

 2    Government, the person in charge of the correctional facility in which defendant is confined shall

 3    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

 4    with a court proceeding; and

 5         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

 6    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

 7         DATED this 17th day of February, 2009.

 8                                                        s/ BRIAN A. TSUCHIDA
                                                          BRIAN A. TSUCHIDA
 9                                                        United States Magistrate Judge

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     DETENTION ORDER -3
